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Mare Cook

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[Additional counsel appearing on signature page]
Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

MICHAEL JAFFEY, individually and on

behalf of a class of similarly situated Case No.

individuals,

CERTIFICATE OF INTERESTED
Plaintiff, PERSONS

V.

DEL TACO RESTAURANTS, INC, a
Delaware corporation,

Defendant.

 

 

In accordance with Rule 7.1(a) of the Federal Rules of Civil Procedure, Plaintiff Michael
Jaffey certifies that he is a natural person. Thus, the disclosure requirements under the Rule are
not applicable.

Moreover, pursuant to Civil L.R. 7.1-1, the undersigned, counsel of record for Plaintiff
Michael Jaffey, certifies that the following have an interest in the outcome of this case:

Bailus Cook & Kelesis, Ltd. (counsel for Plaintiff and the Class)

Woodrow & Peluso, LLC (counsel for Plaintiff and the Class).

These representations are made to enable judges of the Court to evaluate possible

disqualifications or recusal.

Dated: October 5, 2017 Respectfully submitted,

MICHAEL JAFFEY, individually and on behalf of
all others similarly situated,

 

 

 

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By: _/s/ Marc Cook

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Counsel for Plaintiff and the Putative Class

“oro hac vice admission to be filed

 

 

 

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